                  Case 24-18468-RAM           Doc 15      Filed 08/26/24     Page 1 of 2




                         THE UNITED STATES BANKRUPTCY COURT
                         FOR THE SOUTHERN DISTRICT OF FLORIDA
                                    MIAMI DIVISION

       IN RE:                                             CASE NO.: 24-18468--RAM

                                                          FL BAR NO.: 377546

           FELIX ARBUCIAS Debtor.                         Chapter 13

               __________________ /

                                      NOTICE OF APPEARANCE

       HOWARD S. TOLAND, ESQUIRE of the law firm of MITRANI, RYNOR, ADAMSKY &

TOLAND, P.A., enters his appearance as counsel for BANKUNITED, NA , creditor in the above-

styled cause, pursuant to Section 1109 (b) of the United States Bankruptcy Code and Bankruptcy Rule

9010(B) and such counsel hereby requests, pursuant to Bankruptcy Rules 2002 and 9007 and Section

1109 (b) of the Bankruptcy Code, that all notices given or required to be given in this case, and all

papers, pleadings, motions and applications served or required to be served, be given to and served

upon the undersigned at the address and telephone number set forth below.

       PLEASE TAKE FURTHER NOTICE that, pursuant to the United States Bankruptcy Code, the

foregoing demand includes not only the notices and papers referred to in the Bankruptcy Rules

specified above, but also includes, without limitation, notices of any application, motion, petition,

pleading, request, complaint or demand, whether formal or informal, whether written or oral, and

whether transmitted or conveyed by mail, delivery, telephone, telegraph, telex, or otherwise, which

would affect or seem to affect in any way interests of the Creditor with respect to the Debtors or any

related entity, the property of the Debtors, or any of the Creditor's collateral or interest with respect to

the Debtors or its property or proceeds thereof or property in which the Debtors may claim an interest.

                                                      1
                 Case 24-18468-RAM          Doc 15      Filed 08/26/24    Page 2 of 2




       This appearance and request for notice is without prejudice to the Creditor's rights, remedies

and claims against other entities or any objection that may be made to the subject matter jurisdiction of

the Court and shall not be deemed or construed to submit the Creditor to the jurisdiction of the court.

All rights, remedies and claims are hereby expressly reserved.


                                             MITRANI, RYNOR, ADAMSKY & TOLAND, P.A.
                                             Attorneys for BANKUNITED NA
                                             Htoland@mitrani.com
                                             301 Arthur Godfrey Road, # PH
                                             Miami Beach , FL 333140
                                             (954) 335-1010/ (305) 358-0050

                                             BY:    /s/Howard S. Toland
                                                     HOWARD S. TOLAND, ESQUIRE
                                                     FL Bar No. 377546




                                                    2
